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   EXHIBIT 1
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                         PROCLAMATION BY THE GOVERNOR
                          AMENDING PROCLAMATION 20-05

                                              20-25

                              STAY HOME – STAY HEALTHY


WHEREAS, on February 29, 2020, I issued Proclamation 20-05, proclaiming a State of
Emergency for all counties throughout the state of Washington as a result of the coronavirus
disease 2019 (COVID-19) outbreak in the United States and confirmed person-to-person spread of
COVID-19 in Washington State; and

WHEREAS, as a result of the continued worldwide spread of COVID-19, its significant
progression in Washington State, and the high risk it poses to our most vulnerable populations, I
have subsequently issued amendatory Proclamations 20-06, 20-07, 20-08, 20-09, 20-10, 20-11,
20-12, 20-13, 20-14, 20-15, 20-16, 20-17, 20-18, 20-19, 20-20, 20-21, 20-22, 20-23, and 20-24,
exercising my emergency powers under RCW 43.06.220 by prohibiting certain activities and
waiving and suspending specified laws and regulations; and

WHEREAS, the COVID-19 disease, caused by a virus that spreads easily from person to person
which may result in serious illness or death and has been classified by the World Health
Organization as a worldwide pandemic, has broadly spread throughout Washington State,
significantly increasing the threat of serious associated health risks statewide; and

WHEREAS, there are currently at least 2,221 cases of COVID-19 in Washington State and,
tragically, 110 deaths of Washingtonians associated with COVID-19; and

WHEREAS, models predict that many hospitals in Washington State will reach capacity or
become overwhelmed with COVID-19 patients within the next several weeks unless we
substantially slow down the spread of COVID-19 throughout the state; and

WHEREAS, hospitalizations for COVID-19 like illnesses are significantly elevated in all adults,
and a sharply increasing trend in COVID-19 like illness hospitalizations has been observed for the
past three (3) weeks; and

WHEREAS, the worldwide COVID-19 pandemic and its progression in Washington State
continues to threaten the life and health of our people as well as the economy of Washington
State, and remains a public disaster affecting life, health, property or the public peace; and
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WHEREAS, the Washington State Department of Health continues to maintain a Public Health
Incident Management Team in coordination with the State Emergency Operations Center and
other supporting state agencies to manage the public health aspects of the incident; and

WHEREAS, the Washington State Military Department Emergency Management Division,
through the State Emergency Operations Center, continues coordinating resources across state
government to support the Department of Health and local health officials in alleviating the
impacts to people, property, and infrastructure, and continues coordinating with the Department of
Health in assessing the impacts and long-term effects of the incident on Washington State and its
people.

NOW, THEREFORE, I, Jay Inslee, Governor of the state of Washington, as a result of the
above-noted situation, and under Chapters 38.08, 38.52 and 43.06 RCW, do hereby proclaim: that
a State of Emergency continues to exist in all counties of Washington State; that Proclamation
20-05 and all amendments thereto remain in effect as otherwise amended; and that Proclamations
20-05, 20-07, 20-11, 20-13, and 20-14 are amended and superseded by this Proclamation to
impose a Stay Home – Stay Healthy Order throughout Washington State by prohibiting all people
in Washington State from leaving their homes or participating in social, spiritual and recreational
gatherings of any kind regardless of the number of participants, and all non-essential businesses in
Washington State from conducting business, within the limitations provided herein.

I again direct that the plans and procedures of the Washington State Comprehensive Emergency
Management Plan be implemented throughout state government. State agencies and departments
are directed to continue utilizing state resources and doing everything reasonably possible to
support implementation of the Washington State Comprehensive Emergency Management Plan
and to assist affected political subdivisions in an effort to respond to and recover from the
COVID-19 pandemic.

I continue to order into active state service the organized militia of Washington State to include
the National Guard and the State Guard, or such part thereof as may be necessary in the opinion of
The Adjutant General to address the circumstances described above, to perform such duties as
directed by competent authority of the Washington State Military Department in addressing the
outbreak. Additionally, I continue to direct the Department of Health, the Washington State
Military Department Emergency Management Division, and other agencies to identify and
provide appropriate personnel for conducting necessary and ongoing incident related assessments.

FURTHERMORE, based on the above situation and under the provisions of RCW
43.06.220(1)(h), to help preserve and maintain life, health, property or the public peace, and to
implement the Stay Home—Stay Healthy Order described above, I hereby impose the following
necessary restrictions on participation by all people in Washington State by prohibiting each of
the following activities by all people and businesses throughout
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Washington State, which prohibitions shall remain in effect until midnight on April 6, 2020,
unless extended beyond that date:

   1. All people in Washington State shall immediately cease leaving their home or place
      of residence except: (1) to conduct or participate in essential activities, and/or (2) for
      employment in essential business services. This prohibition shall remain in effect until
      midnight on April 6, 2020, unless extended beyond that date.

       To implement this mandate, I hereby order that all people in Washington State are
       immediately prohibited from leaving their home or place of residence except to conduct or
       participate in (1) essential activities, and/or (2) employment in providing essential
       business services:

           a. Essential activities permitted under this Proclamation are limited to the
              following:
              1) Obtaining necessary supplies and services for family or household members
                  and pets, such as groceries, food and supplies for household consumption and
                  use, supplies and equipment needed to work from home, and products
                  necessary to maintain safety, sanitation and essential maintenance of the home
                  or residence.
              2) Engaging in activities essential for the health and safety of family,
                  household members and pets, including things such as seeking medical or
                  behavioral health or emergency services and obtaining medical supplies or
                  medication.
              3) Caring for a family member, friend, or pet in another household or residence,
                  and to transport a family member, friend or their pet for essential health and
                  safety activities, and to obtain necessary supplies and services.
              4) Engaging in outdoor exercise activities, such as walking, hiking, running or
                  biking, but only if appropriate social distancing practices are used.

           b. Employment in essential business services means an essential employee
              performing work for an essential business as identified in the “Essential Critical
              Infrastructure Workers” list, or carrying out minimum basic operations (as defined
              in Section 3(d) of this Order) for a non-essential business.

           c. This prohibition shall not apply to individuals whose homes or residences are
              unsafe or become unsafe, such as victims of domestic violence. These individuals
              are permitted and urged to leave their homes or residences and stay at a safe
              alternate location.

           d. This prohibition also shall not apply to individuals experiencing homelessness,
              but they are urged to obtain shelter, and governmental and other entities are
              strongly encouraged to make such shelter available as soon as possible and to the
              maximum extent practicable.
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       e. For purposes of this Proclamation, homes or residences include hotels, motels,
          shared rental units, shelters, and similar facilities.

2. All people in Washington State shall immediately cease participating in all public
   and private gatherings and multi-person activities for social, spiritual and
   recreational purposes, regardless of the number of people involved, except as
   specifically identified herein. Such activity includes, but is not limited to, community,
   civic, public, leisure, faith-based, or sporting events; parades; concerts; festivals;
   conventions; fundraisers; and similar activities. This prohibition also applies to planned
   wedding and funeral events. This prohibition shall remain in effect until midnight on
   April 6, 2020, unless extended beyond that date.

   To implement this mandate, I hereby order that all people in Washington State are
   immediately prohibited from participating in public and private gatherings of any number
   of people for social, spiritual and recreational purposes. This prohibition shall not apply
   to activities and gatherings solely including those people who are part of a single
   household or residential living unit.

3. Effective midnight on March 25, 2020, all non-essential businesses in Washington
   State shall cease operations except for performing basic minimum operations. All
   essential businesses are encouraged to remain open and maintain operations, but
   must establish and implement social distancing and sanitation measures established
   by the United States Department of Labor or the Washington State Department of
   Health Guidelines. This prohibition shall remain in effect until midnight on April 8,
   2020, unless extended beyond that date.

   To implement this mandate, I hereby order that, effective midnight on March 25, 2020,
   all non-essential businesses in Washington State are prohibited from conducting all
   activities and operations except minimum basic operations.

       a. Non-essential businesses are strongly encouraged to immediately cease
          operations other than performance of basic minimum operations, but must do so
          no later than midnight on March 25, 2020.
       b. Essential businesses are prohibited from operating under this Proclamation unless
          they establish and implement social distancing and sanitation measures established
          by the United States Department of Labor’s Guidance on Preparing Workplaces
          for COVID-19 at https://www.osha.gov/Publications/OSHA3990.pdf and the
          Washington State Department of Health Workplace and Employer Resources &
          Recommendations at https://www.doh.wa.gov/Coronavirus/workplace.
       c. This prohibition does not apply to businesses consisting exclusively of
          employees or contractors performing business activities at their home or
          residence, and who do not engage in in-person contact with clients.
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           d. For purposes of this Proclamation, minimum basic operations are the minimum
              activities necessary to maintain the value of the business’ inventory, preserve the
              condition of the business’ physical plant and equipment, ensure security, process
              payroll and employee benefits, facilitate employees of the business being able to
              continue to work remotely from their residences, and related functions.

This Proclamation shall not be construed to prohibit working from home, operating a single owner
business with no in-person, on-site public interaction, or restaurants and food services providing
delivery or take-away services, so long as proper social distancing and sanitation measures are
established and implemented.

No business pass or credentialing program applies to any activities or operations under this
Proclamation.

Violators of this of this order may be subject to criminal penalties pursuant to RCW 43.06.220(5).

Signed and sealed with the official seal of the state of Washington on this 23rd day of March,
A.D., Two Thousand and Twenty at Olympia, Washington.

                                                       By:


                                                               /s/
                                                       Jay Inslee, Governor




BY THE GOVERNOR:


       /s/
Secretary of State
